
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
|,The Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent failed to communicate with a client, failed to hold disputed funds in trust, commingled client funds with personal funds, engaged in conduct constituting a conflict of interest, and engaged in conduct prejudicial to the administration of justice. Following the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that David J. Motter, Louisiana Bar Roll number 21366, be suspended from the practice of law for a period of one year and one day. This suspension shall be deferred in its entirety, subject to respondent’s successful completion of a two-year period of supervised probation governed by the conditions set forth in the petition for consent discipline. The probationary period shall commence from the date respondent, the ODC, and the probation monitor execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred suspension executory, *385or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
JOHNSON, C.J., dissents and rejects consent discipline.
